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16
                                 UNITED STATES DISTRICT COURT
17
                              EASTERN DISTRICT OF CALIFORNIA
18
                                     SACRAMENTO DIVISION
19

20
     AMANDA CAUDEL, ALLISON                     Case No. 2:20-cv-00848-KJM-KJN
21   CARRANZA-MORENO, CATHY
     DIOMARTICH, AND SHANEY SCOTT,              JOINT STIPULATION TRANSFERRING
22   individually, and on behalf of those       VENUE TO THE U.S. DISTRICT COURT
     similarly situated,                        FOR THE WESTERN DISTRICT OF
23                                              WASHINGTON; ORDER
                      Plaintiffs,
24
          v.
25
     AMAZON.COM, INC.,
26
                      Defendant.
27

28
                                                            JOINT STIPULATION AND ORDER TO
                                                                            TRANSFER VENUE
                                                                        2:20-CV-00848-KJM-KJN
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 1        This Joint Stipulation is made with reference to the following facts:

 2        1.     Defendant Amazon.com, Inc. (“Amazon”) filed a motion to dismiss on October

 3               26, 2020 (Dkt. No. 14);

 4        2.     The Court granted Amazon’s Motion to Dismiss on October 15, 2021 (Dkt. No.

 5               36) without prejudice, allowing Plaintiff opportunity to amend her complaint;

 6        3.     The Court entered a Minute Order on December 22, 2021 (Dkt. No. 39) permitting

 7               Plaintiff to file an amended complaint;

 8        4.     Plaintiff filed her First Amended Complaint (Dkt. No. 40) on January 5, 2022, in

 9               which she added additional plaintiffs to this matter;

10        5.     By stipulation, the Parties conferred and agreed Amazon’s responsive pleading

11               would be due approximately 45 days (on or before February 22, 2022) following

12               the filing of the First Amended Complaint, and that stipulation was entered by this

13               Court’s Order (Dkt. No. 42) on January 21, 2022;

14        6.     On November 19, 2021, undersigned Plaintiffs’ counsel initiated an action in the

15               U.S. District Court for the Southern District of New York, Baron v. Amazon Inc.,

16               No. 1:21-cv-09636 (Dkt. No. 1) (S.D.N.Y. Nov. 19, 2021) (the “Baron Action”).

17               The Baron Action concerns the same subject matter as the instant action;

18        7.     Since the re-filing of the instant action and the Baron Action, counsel for the

19               Parties have met and conferred as to measures to coordinate the two actions in

20               order to conserve judicial resources and for the convenience of the Parties;

21        8.     The Parties agreed that stipulating to and jointly requesting transfer of the instant

22               action and the Baron Action to the U.S. District Court for the Western District of

23               Washington, where Amazon resides, would further those goals;

24        9.     Specifically, the Parties agreed that transfer would promote convenience for the

25               Parties and witnesses by allowing both matters to be heard in one forum and would

26               conserve judicial and party resources by eliminating motion practice related to the

27               forum-selection clause in Amazon’s Conditions of Use. By entering into this

28               stipulation, neither Party waives any claims, defenses, or arguments as to
                                                                   JOINT STIPULATION AND ORDER TO
                                                   -2-                              TRANSFER VENUE
                                                                               2:20-CV-00848-KJM-KJN
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 1               Amazon’s Conditions of Use, including as to whether or how the Conditions of

 2               Use bear on Plaintiffs’ claims;

 3        10.    On February 22, 2022, the Parties jointly requested a thirty (30) day extension of

 4               time for Amazon to respond to the First Amended Complaint (Dkt. No. 43), during

 5               which time the Parties expected to finalize and file the aforementioned stipulation

 6               requesting transfer;

 7        11.    On February 24, 2022, the Parties jointly requested the same relief in the Baron

 8               Action. Baron v. Amazon Inc., No. 1:21-cv-09636 (Dkt. No. 7) (S.D.N.Y. Feb. 24,

 9               2022);

10        12.    This Court entered a Minute Order on February 25, 2022, granting the stipulated

11               extension of time and ordering that Amazon’s response to Plaintiffs’ First

12               Amended Complaint shall be filed on or before March 24, 2022 (Dkt No. 44);

13        13.    In the Baron Action, on February 25, 2022, the U.S. District Court for the

14               Southern District of New York entered an order granting the stipulated extension

15               of time and ordering that Amazon’s response to that Complaint be filed no later

16               than March 28, 2022. Baron v. Amazon Inc., No. 1:21-cv-09636 (Dkt. No. 8)

17               (S.D.N.Y. Feb. 25, 2022);

18        14.    Consistent with the Parties’ stipulation, the Parties jointly request transfer of the

19               instant action to the U.S. District Court for the Western District of Washington;

20        15.    The parties in the Baron Action intend to jointly request the same relief in that

21               case;

22        16.    Upon transfer to the Western District of Washington of the instant action by this

23               Court and of the Baron Action by the Southern District of New York, the Parties

24               will meet and confer regarding potential consolidation of the actions, a

25               consolidated amended complaint, and a proposed schedule for responding to any

26               amended complaint.

27        Accordingly, the parties HEREBY STIPULATE and request that the Court transfer this

28        action to the U.S. District Court for the Western District of Washington.
                                                                    JOINT STIPULATION AND ORDER TO
                                                    -3-                              TRANSFER VENUE
                                                                                2:20-CV-00848-KJM-KJN
     Case 2:20-cv-00848-KJM-KJN Document 46 Filed 03/28/22 Page 4 of 5


 1   Respectfully submitted,

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 3
     DATED: March 22, 2022
 4

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                                                            JOINT STIPULATION AND ORDER TO
                                               -4-                           TRANSFER VENUE
                                                                        2:20-CV-00848-KJM-KJN
     Case 2:20-cv-00848-KJM-KJN Document 46 Filed 03/28/22 Page 5 of 5


 1                                                 ORDER

 2
            The stipulation complies with 28 U.S.C. §§ 1404 and 1391 and transfer is appropriate.
 3
     Accordingly, this case is transferred to the U.S. District Court for the Western District of
 4
     Washington.
 5
            IT IS SO ORDERED.
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     DATED: March 25, 2022.
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                                                                      JOINT STIPULATION AND ORDER TO
                                                      -5-                              TRANSFER VENUE
                                                                                  2:20-CV-00848-KJM-KJN
